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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS

__________________________________________
                                                             )
UNITED STATES OF AMERICA                                     )
                                                             )
V.                                                           )        Criminal No. 18-10450-MLW
                                                             )
HENRI SALVADOR GUTIERREZ,                                    )
Joined by                                                    )
ELISEO VAQUERANO CANAS (#3),                                 )
JONATHAN TERCERO YANES (#4)                                  )
____________________________________                         )


                       DEFENDANTS’ MOTION TO EXTEND DEADLINE
                          (WITHOUT GOVERNMENT OPPOSITION)

        Now comes HENRI SALVADOR GUTIERREZ and says that since this Court’s directive

of May 18, 2020 undersigned has met and discussed the status of the above-captioned case in

person with Mr. Gutierrez and has additionally been in regular communication with the attorney

for the government on the somewhat intertwined issues of further voluntary production by the

government of additional discovery material (early Jencks material) and defendant requested

discovery1 (CW-13’s nonprivileged telephone calls from the Middlesex House of Correction

(sometimes Billerica House of Correction herein) during the period September 7, 2018 –

November 1, 2018), as well as potential resolution of the case.

        The government anticipates that its forthcoming discovery production will be made on or

about June 17, 2020 and undersigned counsel has only last evening been provided with an

English draft version of CW-13’s handwritten notes of his “Billerica House of Correction

interactions” with Mr. Gutierrez (which must be reviewed with the defendant).

1
 Undersigned understands that material containing some two hundred fifty (250) telephone calls has been received
by the government provided by agreement to Deborah Huacuja, a certified Spanish interpreter, to review and cull the
wheat from the chaff. Ms. Huacuja’s fee requirements for these interpreter services have been provided to Michael
Andrews, Esq. for review.
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       Discussion on the issues mandated by the Court in Docket #181 have been productive

and helpful both to counsel and to the defendant to understand and evaluate the merits of the case

involving Mr. Gutierrez. While fruitful they have been preliminary in nature but are and will be

ongoing.

       Motions to dismiss the Indictment (and an ancillary motion to strike surplusage from the

Indictment) have been already filed by the defendant, opposed by the government and replied to

by the defendant. The government may move for additional time to surreply to the reply to the

motion to dismiss to which extension of time the defendant assents in principle, if in fact

requested.

       An enlargement of time relief from the schedule set by the Court in Docket #181

regarding filing of motions to suppress is requested for the following reasons:

   1. Further discussion of the evolving case issues with the defendant is required.

   2. Those discussions will be informed by the new (not yet received discovery) and the

       recently received but yet reviewed with defendant, handwritten CW-13 notes.

   3. The language barrier, necessitates use of interpreters and their limited availability to

       attend at Wyatt Detention facility makes the filing of well informed and well pled

       motions on the schedule set by the court impractical despite concerted effort by counsel

       to comply.

   4. In addition, the pandemic has spawned its own “host of devils” and tasks take longer due

       to office staff reductions and a marked increase in the number of “emergency” matters

       requiring triage or a more extensive response from the undersigned.

   5. Undersigned counsel and government counsel have been working cooperatively although

       slowed by the Covid-19 closure.



                                                 2
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    6. Defendants Eliseo Vaquerano Canas (#3) and Jonathan Tercero Yanes (#4) join in this

        motion and its request for enlargement of deadlines currently established.

        WHEREFORE, an extension of time2 to file motions to suppress evidence until July 16,

2020 is requested with government response due by August 17, 2020 and reply by September 1,

2020. Motion hearing to be then set by the Court.

                                                     Respectfully submitted,

                                                     HENRI SALVADOR GUTIERREZ,
                                                     By his attorney,

                                                     /s/ George F. Gormley
                                                     George F. Gormley (BBO# 204140)
                                                     George F. Gormley, P.C.
                                                     160 Old Derby Street, Suite 456
                                                     Hingham, MA 02043
                                                     Tel: 617 268-2999/Fax: 617 268-2911
                                                     Email: gfgormley@aol.com


Dated: June 3, 2020


                                      CERTIFICATE OF SERVICE

        I, George F. Gormley, certify that I understand that all counsel will receive electronic
notice of the electronic filing of this pleading.

                                                     /s/ George F. Gormley
                                                     George F. Gormley




2
 Undersigned also notes that a discovery schedule consistent with the dates in the request was entered today
(Docket #201).

                                                         3
